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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

BETH CHANEY MacNEILL
VS.

NIRMAL JAYASEELAN, M.D.;
DOMINGO K. TAN, M.D.; CHAD
CARLTON, M.D.; TEXAS HEALTH
HARRIS METHODIST HOSPITAL FORT
WORTH; EMERGENCY MEDICINE
CONSULTANTS LTD. ; BAYLOR ALL
SAINTS MEDICAL CENTER AT FORT
WORTH; and EMCARE, INC.

CIVIL ACTION NO. 4-14-CV~242-O

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DEFENDANT EMERGENCY MEDICINE CONSULTANTS, LTD.’S
AMENDED RULE 12(b)(6) MOTI()N TO DISMISS F()R FAILURE
TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

TO THE HONORABLE JUDGE OF SAID COURT:

Defendant Ernergency Medicine Consultants, Ltd., one of the Defendants in the above-
styled and numbered cause (hereinafter “Defendant”) moves to dismiss Plaintiff’s claims
pursuant to Federal Rule of Civil Procedure 12(b)(6) for failing to state a claim upon which relief
can be granted

I.

Support for the Amendcd 12(b)(6) Motion to Dismiss is set forth in Defendant’s
Amended Memorandum in Support of Rule 12(1)_)(6) Motion to Dismiss for Failure to Statc a
Clairn Upon Which Relief Can be Granted.

WHEREFORE, Defendant urges this Court, upon consideration and review of

Defendant’s Amended Mcmorandum in Support of Motion to Dismiss for Failure to State a

 

Dcfendant Emergency Medicine Consultants, Ltd.’s Amended Rule 12(b)(6) Motion
to Dismiss for Failure to Statc a Claim Upon Which Relief` Can be Grantecl Page 1

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Claim Upon Which Relief Can be Granted, along with the other pleadings already a part of the
Court’s record in this case, to dismiss Plaintiff’ s claims and cause of action against Defendant for
failure to state a claim upon which relief can be granted and for further relief to which it may be
justly entitled under the law.
Respectfuliy submitted,
KRUEGER, BELL & BAILEY, LLP
By: /s/ Vernon L. Krueger
7 Lead Attorney
' Texas Bar No. 11740515
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Dallas, Texas 75202
Telephone: 469/364-8050
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Attorneys for Defendant
EMERGENCY MEDICINE CONSULTANTS, LTD.

CERTIFICATE OF SERVICE

 

l hereby certify that on June 5, 2014 We electronically filed the foregoing document with
the clerk of the court for the U.S. District Court, Northern District of Texas, using the electronic
case filing system of the Court. The electronic case filing system sent a “Noticc cf Electronic
Filing” to all attorneys of record Who have consented to accept this Notice as service of this
document by electronic means

/s/ Vernon L. Krueger

 

Defendant Emcrgency Medicine Consultants, Ltd.’s Amended Rule lQ(b)(G) Motion
to Dismiss for Failure to State a Claim Upon Which Relief Can be Granted Page 2

 

